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                                                                                   EXHIBIT A

                                                                                                                                                                    DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST             PLAINTIFF FIRST    PLAINTIFF MIDDLE                                       RELATIONSHIP
                                             SUFFIX                                             PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                      NAME                NAME                                              TO DECEDENT
                                                                                                                                                                    SUFFERING

Andrew        Anthony       Abate                     Elaine                                   Abate                             Parent         $    8,500,000.00
Paul          Andrew        Acquaviva                 Alfred                                   Acquaviva                         Parent         $    8,500,000.00
Paul          Andrew        Acquaviva                 Josephine                                Acquaviva                         Parent         $    8,500,000.00
Paul          Andrew        Acquaviva                 Kara                                     Hadfield                          Sibling        $    4,250,000.00
Joseph                      Agnello                   Rita                                     Agnello                           Parent         $    8,500,000.00
Joseph                      Agnello                   Salvatore                                Agnello                           Parent         $    8,500,000.00
Joseph                      Agnello                   Rosaria                                  Martingano                        Sibling        $    4,250,000.00
Margaret                    Alario                    Catherine          Frances               Jezycki                           Parent         $    8,500,000.00
Margaret                    Alario                    Michael            John                  Jezycki                           Sibling        $    4,250,000.00
Margaret                    Alario                    Stephen            Frank                 Jezycki                Jr.        Sibling        $    4,250,000.00
Christopher   Edward        Allingham                 James              Joseph                Allingham                         Sibling        $    4,250,000.00
Christopher   Edward        Allingham                 Patricia           Cleary                Allingham                         Parent         $    8,500,000.00
Christopher   Edward        Allingham                 William            John                  Allingham              Jr.        Sibling        $    4,250,000.00
Christopher   Edward        Allingham                 William            J.                    Allingham              Sr.        Parent         $    8,500,000.00
Christopher   Edward        Allingham                 Peggy              Allingham             Ciccarelli                        Sibling        $    4,250,000.00
Christopher   Edward        Allingham                 Katharine          Allingham             Clark                             Sibling        $    4,250,000.00
Kermit        C.            Anderson                  Selma              Ann                   Verse                             Sibling        $    4,250,000.00
Adam          P.            Arias                     Andrew                                   Arias                             Sibling        $    4,250,000.00
Adam          P.            Arias                     Donald             Charles               Arias                             Sibling        $    4,250,000.00
Adam          P.            Arias                     Thomas             Vincent               Arias                             Sibling        $    4,250,000.00
Adam          P.            Arias                     Lorraine           Marie                 Arias-Beliveau                    Sibling        $    4,250,000.00
Adam          P.            Arias                     Lauren             Arias                 Lucchini                          Sibling        $    4,250,000.00
Joshua        Todd          Aron                      Ruth               Green                 Aron                              Parent         $    8,500,000.00
John          J.            Badagliacca               Grace              Marie                 Badagliacca                       Parent         $    8,500,000.00
John          J.            Badagliacca               John               Edward                Badagliacca                       Parent         $    8,500,000.00
Walter                      Baran                     Anna               Marie                 Paolino                           Sibling        $    4,250,000.00
Paul                        Barbaro                   Nicholas                                 Barbaro                Jr.        Sibling        $    4,250,000.00
Paul                        Barbaro                   Thomas                                   Barbaro                           Sibling        $    4,250,000.00
Colleen       Ann           Barkow                    Daryl              Joseph                Meehan                            Sibling        $    4,250,000.00
Colleen       Ann           Barkow                    Jo                 Ann                   Meehan                            Parent         $    8,500,000.00
Colleen       Ann           Barkow                    Thomas             Joseph                Meehan                 III        Parent         $    8,500,000.00
Diane                       Barry                     Kevin              William               Barry                             Child          $    8,500,000.00
Jasper                      Baxter                    Jedelle                                  Baxter                 Jr.        Sibling        $    4,250,000.00
Carl                        Bedigian                  Robert                                   Bedigian                          Sibling        $    4,250,000.00
Helen                       Belilovsky                Emma               Ovsey                 Tisnovskiy                        Parent         $    8,500,000.00
Debbie                      Bellows                   Suzanne            Saada                 Abenmoha                          Parent         $    8,500,000.00
Steven        Howard        Berger                    Gary               Mark                  Berger                            Sibling        $    4,250,000.00
John          P.            Bergin                    Mary Ellen                               O'Rourke                          Sibling        $    4,250,000.00
Alvin                       Bergsohn                  Kenneth            Morris                Bergsohn                          Parent         $    8,500,000.00
Timothy       D.            Betterly                  Donald             Austin                Betterly               Jr.        Sibling        $    4,250,000.00
Timothy       D.            Betterly                  Joan               Carol                 Betterly                          Parent         $    8,500,000.00
Timothy       D.            Betterly                  Mark               Christian             Betterly                          Sibling        $    4,250,000.00



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                                                                                                                                                                        DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST        PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                               PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                    NAME                                            TO DECEDENT
                                                                                                                                                                        SUFFERING

Carl                        Bini                        Lillian                                    Bini                              Parent         $    8,500,000.00
Carl                        Bini                        Rosemarie                                  Corvino                           Sibling        $    4,250,000.00
Sean                        Booker                      Rose               Ann                     Booker                            Parent         $    8,500,000.00
Richard       E.            Bosco                       William            James                   Bosco                  Jr.        Parent         $    8,500,000.00
Carol         Marie         Bouchard                    Kenneth            E                       DelleFemine                       Sibling        $    4,250,000.00
Gennady                     Boyarsky                    Bella                                      Boyarsky                          Parent         $    8,500,000.00
Gennady                     Boyarsky                    Vladimir                                   Boyarsky                          Parent         $    8,500,000.00
Dennis                      Buckley                     Jane               Marie                   Smithwick                         Sibling        $    4,250,000.00
Charles       F.            Burlingame       III        Debra              Ann                     Burlingame                        Sibling        $    4,250,000.00
Thomas        E.            Burnett          Jr.        Beverly            Ardella                 Burnett                           Parent         $    8,500,000.00
Thomas        E.            Burnett          Jr.        Thomas             Edward                  Burnett                Sr.        Parent         $    8,500,000.00
Thomas        E.            Burnett          Jr.        Mary Margaret                              Jurgens                           Sibling        $    4,250,000.00
Keith         James         Burns                       Agnes              Delores                 Burns                             Parent         $    8,500,000.00
Keith         James         Burns                       Michael            John                    Burns                             Sibling        $    4,250,000.00
Keith         James         Burns                       Maureen                                    Burns-Dewland                     Sibling        $    4,250,000.00
Keith         James         Burns                       Colleen                                    Cooper                            Sibling        $    4,250,000.00
Keith         James         Burns                       Linda                                      Ellicott                          Sibling        $    4,250,000.00
Keith         James         Burns                       Diane              Marie                   Shepherd                          Sibling        $    4,250,000.00
Michael                     Cahill                      Evelyn                                     Cahill                            Parent         $    8,500,000.00
Michael                     Cahill                      James                                      Cahill                            Parent         $    8,500,000.00
Stephen       J.            Cangialosi                  Thomas             Jerome                  Cangialosi             Jr.        Sibling        $    4,250,000.00
Stephen       J.            Cangialosi                  Elizabeth          Anne                    Dickey                            Sibling        $    4,250,000.00
Lisa                        Cannava                     Antonio                                    DiFato                            Parent         $    8,500,000.00
Lisa                        Cannava                     Teresa                                     DiFato                            Parent         $    8,500,000.00
Brian                       Cannizzaro                  Craig              Michael                 Cannizzaro                        Sibling        $    4,250,000.00
Brian                       Cannizzaro                  Simone                                     Cannizzaro                        Parent         $    8,500,000.00
Louis         A.            Caporicci                   Frank              Louis                   Caporicci                         Sibling        $    4,250,000.00
Louis         A.            Caporicci                   Joseph             Anthony                 Caporicci                         Sibling        $    4,250,000.00
Louis         A.            Caporicci                   Nicholas                                   Caporicci                         Parent         $    8,500,000.00
Louis         A.            Caporicci                   Nicholas           F.                      Caporicci              Jr.        Sibling        $    4,250,000.00
Louis         A.            Caporicci                   Patricia                                   Caporicci                         Parent         $    8,500,000.00
Kathleen      Ann Hunt      Casey                       Maureen            Ann                     Hunt                              Sibling        $    4,250,000.00
Kathleen      Ann Hunt      Casey                       Eileen             Ann                     Mosca                             Sibling        $    4,250,000.00
Stephen       Patrick       Cherry                      Shawn              R.                      Cherry                            Sibling        $    4,250,000.00
Dorothy       J.            Chiarchiaro                 Irene                                      Arguelles                         Sibling        $    4,250,000.00
Dorothy       J.            Chiarchiaro                 Nicholas           James                   Chiarchiaro                       Child          $    8,500,000.00
Dorothy       J.            Chiarchiaro                 Evelyn                                     Diaz                              Sibling        $    4,250,000.00
Dorothy       J.            Chiarchiaro                 Lisa               Maria                   Dreher                            Child          $    8,500,000.00
James         Durward       Cleere                      Judy               Cleere                  Otell                             Sibling        $    4,250,000.00
Mark          J.            Colaio                      Victor             J.                      Colaio                            Parent         $    8,500,000.00
Mark          J.            Colaio                      Jean               Colaio                  Steinbach                         Sibling        $    4,250,000.00
Keith         Eugene        Coleman                     Jean                                       Coleman                           Parent         $    8,500,000.00
Keith         Eugene        Coleman                     Neil               Keith                   Coleman                           Parent         $    8,500,000.00
Keith         Eugene        Coleman                     Todd               Douglas                 Coleman                           Sibling        $    4,250,000.00



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                                                                                                                                                                     DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM         PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                            TO DECEDENT
                                                                                                                                                                     SUFFERING

Michael       L.            Collins                     James              R.                  Collins                Jr.        Parent         $    8,500,000.00
Michael       L.            Collins                     Mary               Anne                Collins                           Parent         $    8,500,000.00
Susan         Clancy        Conlon                      Cornelius          Patrick             Clancy                 III        Sibling        $    4,250,000.00
Susan         Clancy        Conlon                      Kevin              Steven              Clancy                            Sibling        $    4,250,000.00
Susan         Clancy        Conlon                      Vera                                   Clancy                            Parent         $    8,500,000.00
Margaret      Mary          Conner                      Kevin              Francis             Burns                             Sibling        $    4,250,000.00
Margaret      Mary          Conner                      Robert             Emmitt              Burns                             Sibling        $    4,250,000.00
Margaret      Mary          Conner                      Michael            A.                  Conner                            Spouse         $   12,500,000.00
Margaret      Mary          Conner                      Margaret           Mary                Conner                            Estate                             $ 2,000,000.00
Margaret      Mary          Conner                      Patricia           Kathleen            Cuozzo                            Sibling        $    4,250,000.00
John          E.            Connolly         Jr.        Kevin                                  Connolly                          Sibling        $    4,250,000.00
Kevin         P.            Connors                     Douglas                                Connors                           Sibling        $    4,250,000.00
Kevin         P.            Connors                     William            Kirk                Connors                           Sibling        $    4,250,000.00
Gerard        J.            Coppola                     Cynthia            Louisa              Coppola                           Sibling        $    4,250,000.00
Gerard        J.            Coppola                     George             Joseph              Coppola                Jr.        Sibling        $    4,250,000.00
Christopher   Seton         Cramer                      Keith              Douglas             Cramer                            Sibling        $    4,250,000.00
Christopher   Seton         Cramer                      Marc               Seton               Cramer                            Sibling        $    4,250,000.00
Christopher   Seton         Cramer                      Walter             Henry               Cramer                            Sibling        $    4,250,000.00
Christopher   Seton         Cramer                      Susan              Lynne               Kinney                            Sibling        $    4,250,000.00
Thomas        G.            Crotty                      Patricia           Marie               Crotty                            Parent         $    8,500,000.00
John          R.            Crowe                       Maryann                                Crowe                             Sibling        $    4,250,000.00
John          R.            Crowe                       Margaret           Rita                Zoch                              Sibling        $    4,250,000.00
Kenneth       J.            Cubas                       Dorothy            Priscilla           Cubas                             Parent         $    8,500,000.00
Richard       J.            Cudina                      Christopher        Charles             Cudina                            Sibling        $    4,250,000.00
Richard       J.            Cudina                      Marcus             Nicholas            Cudina                            Sibling        $    4,250,000.00
Richard       J.            Cudina                      William                                Cudina                            Sibling        $    4,250,000.00
Robert                      Curatolo                    Anthony                                Curatolo               Sr.        Parent         $    8,500,000.00
Robert                      Curatolo                    Kathleen                               Curatolo                          Sibling        $    4,250,000.00
Robert                      Curatolo                    William                                Curatolo                          Sibling        $    4,250,000.00
Robert                      Curatolo                    Christine                              Friscia                           Sibling        $    4,250,000.00
Robert                      Curatolo                    Dena               Ann                 Nelson                            Sibling        $    4,250,000.00
Robert                      Curatolo                    Carolyn                                Piccirillo                        Sibling        $    4,250,000.00
Paul          Dario         Curioli                     Lawrence                               Curioli                           Sibling        $    4,250,000.00
Paul          Dario         Curioli                     Geraldine          M.                  Sweeney                           Sibling        $    4,250,000.00
Beverly       L.            Curry                       Genee              Marie               Chase                             Sibling        $    4,250,000.00
Beverly       L.            Curry                       Deborah            Marshell            Crew-Johnson                      Sibling        $    4,250,000.00
Beverly       L.            Curry                       Dorothy            Laverne             Green                             Parent         $    8,500,000.00
Beverly       L.            Curry                       Sheila             Annette             Lollis                            Sibling        $    4,250,000.00
John                        D'Allara                    Daniel                                 D'Allara                          Sibling        $    4,250,000.00
Jeannine                    Damiani-Jones               Brian              Robert              Damiani                           Sibling        $    4,250,000.00
Jeannine                    Damiani-Jones               Catherine          Elizabeth           Damiani                           Parent         $    8,500,000.00
Jeannine                    Damiani-Jones               Robert                                 Damiani                           Parent         $    8,500,000.00
Ada           M.            Davis                       Georgia            Darlene             Davis-Leggett                     Sibling        $    4,250,000.00
Ada           M.            Davis                       Clementene         Sue                 Davis-Westmoreland                Sibling        $    4,250,000.00



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                                                                                                                                                                   DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                    RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME    SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                           TO DECEDENT
                                                                                                                                                                   SUFFERING

Ada           M.            Davis                       Christine          Florence            Patterson                        Sibling        $    4,250,000.00
Ana           Gloria        deBarrera                   Pedro              E.                  Pocasangre                       Sibling        $    4,250,000.00
Jason                       DeFazio                     James              Christopher         DeFazio                          Parent         $    8,500,000.00
Jason                       DeFazio                     Rose               Ann                 DeFazio                          Parent         $    8,500,000.00
Vito          Joseph        Deleo            Sr.        Lillian            Rita                DeLeo                            Parent         $    8,500,000.00
Edward                      DeSimone         III        Angelina           Mary                Trimboli                         Parent         $    8,500,000.00
Edward                      DeSimone         III        Michele                                Young                            Sibling        $    4,250,000.00
Michael       Jude          D'Esposito                  Ralph              Thomas              D'Esposito                       Parent         $    8,500,000.00
Debra         Ann           Di Martino                  Marie                                  Cirmia                           Sibling        $    4,250,000.00
Lawrence      Patrick       Dickinson                   Helene             Janice              Dickinson                        Parent         $    8,500,000.00
Lawrence      Patrick       Dickinson                   Joseph             Lawrence            Dickinson                        Sibling        $    4,250,000.00
Lawrence      Patrick       Dickinson                   Deirdre            Dickinson           Sullivan                         Sibling        $    4,250,000.00
John                        DiFato                      Antonio                                DiFato                           Parent         $    8,500,000.00
John                        DiFato                      Teresa                                 DiFato                           Parent         $    8,500,000.00
Johnnie                     Doctor           Jr.        Evon                                   Arnold                           Sibling        $    4,250,000.00
Johnnie                     Doctor           Jr.        Evelena                                Doctor                           Parent         $    8,500,000.00
Johnnie                     Doctor           Jr.        JoAnn                                  Doctor                           Sibling        $    4,250,000.00
Johnnie                     Doctor           Jr.        Sheldon            Dewayne             Doctor                           Sibling        $    4,250,000.00
Johnnie                     Doctor           Jr.        William            Lawrence            Doctor                           Sibling        $    4,250,000.00
Johnnie                     Doctor           Jr.        Elaine             Doctor              McGraw                           Sibling        $    4,250,000.00
Stephen       Patrick       Driscoll                    Jean               Patricia            Driscoll                         Sibling        $    4,250,000.00
Stephen       Patrick       Driscoll                    Michael            Cornelius           Driscoll                         Sibling        $    4,250,000.00
Stephen       Patrick       Driscoll                    Sheila             Mary                Driscoll                         Sibling        $    4,250,000.00
Stephen       Patrick       Driscoll                    Gail               Marie               Silke                            Sibling        $    4,250,000.00
Stephen       Patrick       Driscoll                    Michelle           Eileen              Tierney                          Sibling        $    4,250,000.00
Francis                     Esposito                    Dominick           Anthony             Esposito                         Sibling        $    4,250,000.00
Francis                     Esposito                    Dorothy            Helen               Esposito                         Parent         $    8,500,000.00
Francis                     Esposito                    Michael            Anthony             Esposito                         Parent         $    8,500,000.00
Joseph                      Farrelly                    Patrick            M.                  Farrelly                         Sibling        $    4,250,000.00
Wendy         Ruth          Faulkner                    Lorna              Clelland            Morris                           Parent         $    8,500,000.00
Shannon       Marie         Fava                        Dennis             Joseph              Nielsen                Sr.       Parent         $    8,500,000.00
Shannon       Marie         Fava                        Rose               Jean                Nielsen                          Parent         $    8,500,000.00
Michael       Curtis        Fiore                       Linda              Sarah               Fiore                            Sibling        $    4,250,000.00
Lucy                        Fishman                     Edward             Patrick             Bracken                          Sibling        $    4,250,000.00
Lucy                        Fishman                     Mary               Frances             Bracken                          Parent         $    8,500,000.00
Salvatore     A.            Fiumefreddo                 Loretta            Ann                 Palisay                          Parent         $    8,500,000.00
Jeffrey       L.            Fox                         Michael            Jay                 Fox                              Sibling        $    4,250,000.00
Peter         Louis         Freund                      Carol              Marguerite          Freund                           Sibling        $    4,250,000.00
Clement                     Fumando                     Carlo              Joseph              Fumando                          Sibling        $    4,250,000.00
Clement                     Fumando                     Stephen                                Fumando                          Child          $    8,500,000.00
Paul                        Furmato                     Carol              Margaret            Debenedictis                     Sibling        $    4,250,000.00
Paul                        Furmato                     Joseph                                 Furmato                Jr.       Sibling        $    4,250,000.00
Paul                        Furmato                     Joseph                                 Furmato                Sr.       Parent         $    8,500,000.00
Paul                        Furmato                     Margaret                               Furmato                          Parent         $    8,500,000.00



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                                                                                                                                                                    DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                            TO DECEDENT
                                                                                                                                                                    SUFFERING

Paul                        Furmato                     Mark                                   Furmato                           Sibling        $    4,250,000.00
Paul                        Furmato                     Jill               Mary                Keough                            Sibling        $    4,250,000.00
Deanna        Micciulli     Galante                     Joseph             Anthony             Micciulli                         Parent         $    8,500,000.00
Deanna        Micciulli     Galante                     Joseph             Christopher         Micciulli                         Sibling        $    4,250,000.00
Deanna        Micciulli     Galante                     Margaret           Ann                 Micciulli                         Parent         $    8,500,000.00
Deanna        Micciulli     Galante                     Tina               Louise              Micciulli                         Sibling        $    4,250,000.00
Grace         Catherine     Galante                     Cathy              Marie               Cava                              Sibling        $    4,250,000.00
Grace         Catherine     Galante                     Francesco                              Susca                             Parent         $    8,500,000.00
Grace         Catherine     Galante                     Lucrezia           Ida                 Susca                             Parent         $    8,500,000.00
Charles                     Garbarini                   Joan                                   Cuneo                             Sibling        $    4,250,000.00
Charles                     Garbarini                   Donna              Marie               Garbarini                         Sibling        $    4,250,000.00
Charles                     Garbarini                   Janet                                  Garbarini                         Sibling        $    4,250,000.00
Charles                     Garbarini                   Peggy              Mary                Garbarini                         Sibling        $    4,250,000.00
Charles                     Garbarini                   Cathy              Jean                Kostiw                            Sibling        $    4,250,000.00
Charles                     Garbarini                   Beryl              Ann                 Zawatsky                          Sibling        $    4,250,000.00
Donald        R.            Gavagan          Jr.        Donald             Richard             Gavagan                           Parent         $    8,500,000.00
Donald        R.            Gavagan          Jr.        Joseph             Bernard             Gavagan                           Sibling        $    4,250,000.00
Donald        R.            Gavagan          Jr.        Suzanne                                Mascitis                          Sibling        $    4,250,000.00
Gary          Paul          Geidel                      Michael            George              Geidel                            Sibling        $    4,250,000.00
Gary          Paul          Geidel                      Paul               Ernest              Geidel                            Parent         $    8,500,000.00
Gary          Paul          Geidel                      Christine          Ann                 Norris                            Sibling        $    4,250,000.00
Robert        J.            Gerlich                     Lorraine           Adele               Gerlich                           Sibling        $    4,250,000.00
James         G.            Geyer                       John               Edward              Geyer                             Sibling        $    4,250,000.00
James         G.            Geyer                       Philip             Joseph              Geyer                             Sibling        $    4,250,000.00
James         G.            Geyer                       Geralyn                                Marasco                           Sibling        $    4,250,000.00
Jeffrey                     Giordano                    Mario              Joseph              Giordano               Jr.        Parent         $    8,500,000.00
Martin                      Giovinazzo                  Concetta                               Bonner                            Sibling        $    4,250,000.00
Martin                      Giovinazzo                  Angela             Carmela             Quinn                             Sibling        $    4,250,000.00
Dianne                      Gladstone                   Jayne              Marie               Marx                              Sibling        $    4,250,000.00
Brian         F.            Goldberg                    Gerald                                 Goldberg                          Parent         $    8,500,000.00
Brian         F.            Goldberg                    Marilyn                                Goldberg                          Parent         $    8,500,000.00
Christopher   Michael       Grady                       Brendan            Micheal             Grady                             Sibling        $    4,250,000.00
Christopher   Michael       Grady                       Deirdre            Marie               Grady                             Sibling        $    4,250,000.00
Christopher   Michael       Grady                       Patrick            Michael             Grady                             Sibling        $    4,250,000.00
David         Martin        Graifman                    Brian              Dale                Graifman                          Sibling        $    4,250,000.00
David         Martin        Graifman                    Julius                                 Graifman                          Parent         $    8,500,000.00
David         Martin        Graifman                    Ruth                                   Graifman                          Parent         $    8,500,000.00
James         Michael       Gray                        Patrick                                Gray                              Parent         $    8,500,000.00
James         Michael       Gray                        Mary                                   Madden                            Parent         $    8,500,000.00
James         Michael       Gray                        Suzanne            Marie               Pitzal                            Sibling        $    4,250,000.00
Wade          Brian         Green                       Barry              Vincent             Green                             Sibling        $    4,250,000.00
Wade          Brian         Green                       Wilhelmina         Mary                Green                             Parent         $    8,500,000.00
David         Joseph        Grimner                     Charles            Gregory             Grimner                           Sibling        $    4,250,000.00
David         Joseph        Grimner                     Virginia           Margaret            Kwiatkoski                        Sibling        $    4,250,000.00



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                                                                                                                                                                   DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                    RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME    SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                           TO DECEDENT
                                                                                                                                                                   SUFFERING

David         Joseph        Grimner                     Mary Ann           Elizabeth           Peters                           Sibling        $    4,250,000.00
Robert        John          Halligan                    David              Mitchell            Halligan                         Sibling        $    4,250,000.00
Robert        John          Halligan                    Mary               Kathleen            Lynn                             Sibling        $    4,250,000.00
Daniel        Edward        Harlin                      Caroline           Anna                Harlin                           Parent         $    8,500,000.00
Daniel        Edward        Harlin                      Joan               Patricia            Harlin                           Sibling        $    4,250,000.00
John          P.            Hart                        Mary               Elizabeth           Meixelsperger                    Sibling        $    4,250,000.00
John          P.            Hart                        Christine          Louise              Reichert-Hart                    Sibling        $    4,250,000.00
John          P.            Hart                        Jeanine            Hart                Seaman                           Sibling        $    4,250,000.00
John          P.            Hart                        Sandra             Ellen               Shelley                          Sibling        $    4,250,000.00
Terence       Sean          Hatton                      Grace              Susan               Hatton                           Parent         $    8,500,000.00
Terence       Sean          Hatton                      Grace              Susan               Hatton                           Sibling        $    4,250,000.00
Terence       Sean          Hatton                      Kenneth            Roberts             Hatton                           Parent         $    8,500,000.00
Claribel                    Hernandez                   Carmen             Eneida              Irizarry                         Parent         $    8,500,000.00
Claribel                    Hernandez                   Maribel                                Topaltzas                        Sibling        $    4,250,000.00
Norberto                    Hernandez                   Merquiades                             Diaz                             Sibling        $    4,250,000.00
Norberto                    Hernandez                   Alejandrina                            Feliciano                        Parent         $    8,500,000.00
Norberto                    Hernandez                   Eslyn                                  Hernandez              Sr.       Sibling        $    4,250,000.00
Norberto                    Hernandez                   Hector             Luis                Hernandez                        Sibling        $    4,250,000.00
Norberto                    Hernandez                   Marisol                                Hernandez                        Sibling        $    4,250,000.00
Norberto                    Hernandez                   Pablo              Luis                Hernandez                        Sibling        $    4,250,000.00
Norberto                    Hernandez                   Venancio                               Hernandez              Jr.       Sibling        $    4,250,000.00
Norberto                    Hernandez                   Venancio                               Hernandez              Sr.       Parent         $    8,500,000.00
Norberto                    Hernandez                   Willy              Alberto             Hernandez                        Sibling        $    4,250,000.00
Norberto                    Hernandez                   Miriam             Luz                 Khatri                           Sibling        $    4,250,000.00
Norberto                    Hernandez                   Luz                Milagros            Luna                             Sibling        $    4,250,000.00
Robert        Dale Warren   Higley           II         John               Douglas             Higley                           Parent         $    8,500,000.00
Robert        Wayne         Hobson           III        Laura              Jean                Decoster                         Sibling        $    4,250,000.00
Patrick       Aloysius      Hoey                        Eileen             Mary                Byrne                            Sibling        $    4,250,000.00
Patrick       Aloysius      Hoey                        Kathleen                               Higgins                          Sibling        $    4,250,000.00
Patrick       Aloysius      Hoey                        Lucille            Agnes               Hoey                             Parent         $    8,500,000.00
Patrick       Aloysius      Hoey                        Timothy            Joseph              Hoey                             Sibling        $    4,250,000.00
Patrick       Aloysius      Hoey                        Theresa            Ann                 Komlo                            Sibling        $    4,250,000.00
John                        Hofer                       Billie             Ann                 Hofer                            Parent         $    8,500,000.00
Stephen       G.            Hoffman                     Kathryne           Lois                Hayde                            Sibling        $    4,250,000.00
Stephen       G.            Hoffman                     Helen              Suzanne             Hoffman                          Sibling        $    4,250,000.00
Stephen       G.            Hoffman                     James              Aloysius            Hoffman                          Sibling        $    4,250,000.00
Stephen       G.            Hoffman                     John               W.                  Hoffman                          Sibling        $    4,250,000.00
Joseph                      Holland          Jr.        Joseph             Francis             Holland                          Parent         $    8,500,000.00
Joseph                      Holland          Jr.        Tara               Ann                 Holland-Hickey                   Sibling        $    4,250,000.00
Joseph                      Holland          Jr.        Carol              Ann                 O'Toole                          Parent         $    8,500,000.00
Michael       Patrick       Iken                        Gerard             Helmut              Iken                             Sibling        $    4,250,000.00
Virginia                    Jablonski                   Anthony                                DeTullio                         Sibling        $    4,250,000.00
Robert        A.            Jalbert                     Paul               Henry               Jalbert                          Sibling        $    4,250,000.00
Joon          Koo           Kang                        Janet              Eun Young           Kang                             Sibling        $    4,250,000.00



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                                                                                                                                                                    DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                            TO DECEDENT
                                                                                                                                                                    SUFFERING

Richard       M.            Keane                       Charlotte          Florence            Keane                             Sibling        $    4,250,000.00
Richard       M.            Keane                       Constance          Anne                Keane                             Sibling        $    4,250,000.00
Richard       M.            Keane                       Garrett            Paul                Keane                             Sibling        $    4,250,000.00
Richard       M.            Keane                       Matthew            Eamon               Keane                             Child          $    8,500,000.00
Richard       M.            Keane                       Patrick            James               Keane                             Child          $    8,500,000.00
Richard       M.            Keane                       Paul               Anthony             Keane                             Sibling        $    4,250,000.00
Richard       M.            Keane                       Timothy            Brendan             Keane                             Child          $    8,500,000.00
Richard       M.            Keane                       Theresa            Irene               Wilson                            Sibling        $    4,250,000.00
Leo           Russell       Keene            III        Jennifer           Keene               Clyde                             Sibling        $    4,250,000.00
Leo           Russell       Keene            III        Martha             Susan               Grimm                             Parent         $    8,500,000.00
Leo           Russell       Keene            III        Krista             Sue                 Keene                             Sibling        $    4,250,000.00
Joseph        Anthony       Kelly                       Alice              Buchholz            Kelly                             Parent         $    8,500,000.00
Glenn         Davis         Kirwin                      Barbara            Davis               Kirwin                            Parent         $    8,500,000.00
Glenn         Davis         Kirwin                      Paul               Harris              Kirwin                            Parent         $    8,500,000.00
Thomas        Patrick       Knox                        James              J.                  Knox                              Sibling        $    4,250,000.00
James         Patrick       Ladley                      Daniel             Edward              Ladley                            Sibling        $    4,250,000.00
James         Patrick       Ladley                      Dolores                                Ladley                            Parent         $    8,500,000.00
James         Patrick       Ladley                      Eileen                                 Ladley                            Sibling        $    4,250,000.00
James         Patrick       Ladley                      Patrick            John                Ladley                            Sibling        $    4,250,000.00
James         Patrick       Ladley                      Mary               Ann                 Raymond                           Sibling        $    4,250,000.00
Vanessa       Lang          Langer                      Donna              Marsh               O'Connor                          Parent         $    8,500,000.00
Michele                     Lanza                       Susan              Gail                Chamberlain                       Sibling        $    4,250,000.00
Michele                     Lanza                       Cynthia            D.                  Oricchio                          Sibling        $    4,250,000.00
Gary          E.            Lasko                       Barbara            Jean                Lasko                             Parent         $    8,500,000.00
Robert        A.            Lawrence         Jr.        Elizabeth          Eldredge Lawrence   Andersen                          Sibling        $    4,250,000.00
Juanita                     Lee                         Anthony            Scott               Johnson                           Sibling        $    4,250,000.00
Juanita                     Lee                         Geneva                                 Johnson                           Parent         $    8,500,000.00
Juanita                     Lee                         Janet              Lee                 Johnson                           Sibling        $    4,250,000.00
Juanita                     Lee                         Shirley            Ann                 Walker                            Sibling        $    4,250,000.00
Juanita                     Lee                         Cheryl             Renee               Witherspoon                       Sibling        $    4,250,000.00
Lorraine                    Lee                         Terence            Joseph              Greene                            Sibling        $    4,250,000.00
Lorraine                    Lee                         Thomas             Michael             Greene                            Sibling        $    4,250,000.00
Lorraine                    Lee                         Patricia           Marie               Reilly                            Sibling        $    4,250,000.00
Daniel                      Lewin                       Charles            Jay                 Lewin                             Parent         $    8,500,000.00
Daniel                      Lewin                       Peggy              Sue                 Lewin                             Parent         $    8,500,000.00
Ralph         Michael       Licciardi                   Carmel-Ann                             Sullivan                          Sibling        $    4,250,000.00
Martin                      Lizzul                      Susan              Julia               Lauria                            Sibling        $    4,250,000.00
Martin                      Lizzul                      Julia              Ann                 Lizzul                            Parent         $    8,500,000.00
Laura         M.            Longing                     Anne               Maria               Pettus                            Parent         $    8,500,000.00
Laura         M.            Longing                     Keith              Brian               Pettus                            Sibling        $    4,250,000.00
Laura         M.            Longing                     Kevin              Russel              Pettus                            Parent         $    8,500,000.00
Lee           Charles       Ludwig                      Lawrence           Andrews             Ludwig                            Sibling        $    4,250,000.00
Lee           Charles       Ludwig                      Louis              Henry               Ludwig                 Jr.        Sibling        $    4,250,000.00
Lee           Charles       Ludwig                      Luann                                  Martin                            Sibling        $    4,250,000.00



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                                                                                                                                                                    DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                            TO DECEDENT
                                                                                                                                                                    SUFFERING

Christopher   Edmund        Lunder                      David              Owen                Lunder                            Sibling        $    4,250,000.00
Christopher   Edmund        Lunder                      Edmund                                 Lunder                            Parent         $    8,500,000.00
Christopher   Edmund        Lunder                      Maureen            Sarah               Lunder                            Parent         $    8,500,000.00
Christopher   Edmund        Lunder                      Rosemary                               Sercia                            Sibling        $    4,250,000.00
Michael       F.            Lynch                       Catherine          Theresa             Lynch                             Parent         $    8,500,000.00
Michael       F.            Lynch                       Daniel             Francis             Lynch                             Parent         $    8,500,000.00
Michael       F.            Lynch                       Daniel             John                Lynch                             Sibling        $    4,250,000.00
Michael       F.            Lynch                       Bernadette         Terase              Rafferty                          Sibling        $    4,250,000.00
Robert        H.            Lynch                       Patricia           Ann                 Curry                             Sibling        $    4,250,000.00
Robert        H.            Lynch                       Linda              Lynch               Helck                             Sibling        $    4,250,000.00
Patrick       John          Lyons                       Brian              Charles             Lyons                             Sibling        $    4,250,000.00
Patrick       John          Lyons                       Kelly              Jean                Lyons                             Sibling        $    4,250,000.00
Patrick       John          Lyons                       Kristen            Elizabeth           Lyons                             Sibling        $    4,250,000.00
Jan                         Maciejewski                 Kazimierz                              Maciejewski                       Parent         $    8,500,000.00
Jan                         Maciejewski                 Pawel                                  Maciejewski                       Sibling        $    4,250,000.00
Richard       B.            Madden                      Melissa            Madden              Crowley                           Sibling        $    4,250,000.00
Richard       B.            Madden                      Joshua             Powers              Madden                            Sibling        $    4,250,000.00
Richard       B.            Madden                      Michelle           Marie               Madden                            Parent         $    8,500,000.00
Richard       B.            Madden                      Robert             Twining             Madden                 Jr.        Sibling        $    4,250,000.00
Joseph                      Maffeo                      Donna                                  Maffeo                            Sibling        $    4,250,000.00
Alfred        Russell       Maler                       Edward             Dwain               Maler                             Sibling        $    4,250,000.00
Peter         Edward        Mardikian                   Alexander          Paul                Mardikian                         Parent         $    8,500,000.00
Peter         Edward        Mardikian                   Shakeh                                 Mardikian                         Parent         $    8,500,000.00
Peter         Edward        Mardikian                   Monica             Natalie             Stahl                             Sibling        $    4,250,000.00
Charles       Joseph        Margiotta                   Amelia             Janine              Margiotta                         Parent         $    8,500,000.00
Charles       Joseph        Margiotta                   Michael                                Margiotta                         Sibling        $    4,250,000.00
Kenneth                     Marino                      Lynda              Ann                 Marino                            Sibling        $    4,250,000.00
Kenneth                     Marino                      Mary Ann                               Marino                            Parent         $    8,500,000.00
Kenneth                     Marino                      Patrick            Anthony             Marino                            Parent         $    8,500,000.00
Vita                        Marino                      Antonina           Joan                Marino                            Parent         $    8,500,000.00
Vita                        Marino                      James              Martin              Marino                            Sibling        $    4,250,000.00
Vita                        Marino                      Martin             Anthony             Marino                            Sibling        $    4,250,000.00
Vita                        Marino                      Michael            Patrick             Marino                            Sibling        $    4,250,000.00
Anne          Marie         Martino-Cramer              Anthony            Demitrio            Martino                           Sibling        $    4,250,000.00
Anne          Marie         Martino-Cramer              Patricia                               Nilsen                            Sibling        $    4,250,000.00
Patricia      Ann           Massari                     Anna               Ella                Cimaroli                          Parent         $    8,500,000.00
Patricia      Ann           Massari                     Richard            Patrick             Cimaroli                          Parent         $    8,500,000.00
Philip        William       Mastrandrea      Jr.        Philip             William             Mastrandrea            Sr.        Parent         $    8,500,000.00
Philip        William       Mastrandrea      Jr.        Robert             Micheal             Mastrandrea                       Sibling        $    4,250,000.00
Philip        William       Mastrandrea      Jr.        Rosalie            Annette             Mastrandrea                       Parent         $    8,500,000.00
Thomas        J.            McCann                      George             Gerard              McCann                            Sibling        $    4,250,000.00
Thomas        J.            McCann                      Natalie            Mary                McCann                            Parent         $    8,500,000.00
Thomas        J.            McCann                      Natalie            Mary                Moriarty                          Sibling        $    4,250,000.00
Kevin         Micheal       McCarthy                    Kathleen           Marie               Sullivan                          Sibling        $    4,250,000.00



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                                                                                                                                                                    DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME     SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                            TO DECEDENT
                                                                                                                                                                    SUFFERING

Matthew       Thomas        McDermott                   Jacqueline         Agnes               McDermott                         Parent         $    8,500,000.00
Brian         G.            McDonnell                   Kevin              Walter              McDonnell                         Sibling        $    4,250,000.00
John          T.            McErlean         Jr.        Agnes              Marie               Duhamel                           Sibling        $    4,250,000.00
John          T.            McErlean         Jr.        Catherine                              Francese                          Sibling        $    4,250,000.00
John          T.            McErlean         Jr.        Marie              McErlean            Hunter                            Sibling        $    4,250,000.00
John          T.            McErlean         Jr.        Agnes              Marie               McErlean                          Parent         $    8,500,000.00
John          T.            McErlean         Jr.        John               T.                  McErlean               Sr.        Parent         $    8,500,000.00
William       J.            McGovern                    Marilyn            McGovern            Zurica                            Sibling        $    4,250,000.00
George                      Merino                      Maria              Lourdes             Lehr                              Sibling        $    4,250,000.00
Raymond       Joseph        Metz             III        Raymond            Joseph              Metz                   Jr.        Parent         $    8,500,000.00
Raymond       Joseph        Metz             III        Wendy              Anne                Metz                              Sibling        $    4,250,000.00
Joel                        Miller                      Sondra             Beverly             Foner                             Sibling        $    4,250,000.00
Robert        C.            Miller           Jr.        James              Ronald              Miller                            Sibling        $    4,250,000.00
Robert        C.            Miller           Jr.        Terry              Richard             Miller                            Sibling        $    4,250,000.00
Carl          Eugene        Molinaro                    Deborah            Ann                 Atchley                           Sibling        $    4,250,000.00
Carl          Eugene        Molinaro                    Lisa               Jean                Hojnacki                          Sibling        $    4,250,000.00
Carl          Eugene        Molinaro                    Eugene                                 Molinaro                          Parent         $    8,500,000.00
Carl          Eugene        Molinaro                    Joan               Olivia              Molinaro                          Parent         $    8,500,000.00
Carl          Eugene        Molinaro                    Lawrence           Charles             Molinaro                          Sibling        $    4,250,000.00
Carl          Eugene        Molinaro                    Trudy              Jean                Venditti                          Sibling        $    4,250,000.00
Cesar         A.            Murillo                     Nilvia                                 Mitchell                          Parent         $    8,500,000.00
Patrick       Sean          Murphy                      Dolores            Barbara             Murphy                            Parent         $    8,500,000.00
Patrick       Sean          Murphy                      Thomas             Joseph              Murphy                            Parent         $    8,500,000.00
John          J.            Murray                      Catherine          Marie               Datz                              Sibling        $    4,250,000.00
John          J.            Murray                      Michael            Christopher         Murray                            Sibling        $    4,250,000.00
Joseph        Michael       Navas                       Lisa               Ann                 Lopiccolo                         Sibling        $    4,250,000.00
Joseph        Michael       Navas                       Rosemarie                              Navas                             Parent         $    8,500,000.00
Michael       P.            O'Brien                     Mary               Kathleen            Dishaw                            Sibling        $    4,250,000.00
Michael       P.            O'Brien                     Andrew             Thomas              O'Brien                           Sibling        $    4,250,000.00
Michael       P.            O'Brien                     Bridget            Ann                 Paluzzi                           Sibling        $    4,250,000.00
Timothy       M.            O'Brien                     Bernard            Joseph              O'Brien                           Parent         $    8,500,000.00
Timothy       M.            O'Brien                     Marilyn            Jeanne              O'Brien                           Parent         $    8,500,000.00
Timothy       M.            O'Brien                     Kathleen           Marie               Tighe                             Sibling        $    4,250,000.00
Thomas        Gerard        O'Hagan                     Kathleen           Brigid              Gaetano                           Sibling        $    4,250,000.00
Thomas        Gerard        O'Hagan                     Jeanne             Theresa             McCabe                            Sibling        $    4,250,000.00
Thomas        Gerard        O'Hagan                     Raymond            T.                  O'Hagan                           Sibling        $    4,250,000.00
Michael       C.            Opperman                    Carol              Ann                 Smee                              Sibling        $    4,250,000.00
Christopher   T.            Orgielewicz                 Joyce                                  Christopher                       Parent         $    8,500,000.00
Christopher   T.            Orgielewicz                 Laurie             Ann                 Christopher                       Sibling        $    4,250,000.00
Kevin         M.            O'Rourke                    Dennis             P.                  O'Rourke                          Sibling        $    4,250,000.00
Peter         Keith         Ortale                      Gilbert            Gabriel             Ortale                            Sibling        $    4,250,000.00
James         Robert        Ostrowski                   Stephen            W.                  Ostrowski                         Sibling        $    4,250,000.00
Orio          Joseph        Palmer                      Agnes              Marie               McCaffrey                         Sibling        $    4,250,000.00
Orio          Joseph        Palmer                      Mary               Francis             Palmer-Murphy                     Sibling        $    4,250,000.00



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                                                                                                                                                                 DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST             PLAINTIFF FIRST    PLAINTIFF MIDDLE                                    RELATIONSHIP
                                             SUFFIX                                           PLAINTIFF LAST NAME    SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                      NAME                NAME                                           TO DECEDENT
                                                                                                                                                                 SUFFERING

Orio          Joseph        Palmer                    Agnes              Louise              Palmer                           Parent         $    8,500,000.00
Orio          Joseph        Palmer                    Stephen            Orio                Palmer                           Sibling        $    4,250,000.00
Orio          Joseph        Palmer                    Vincent            Alanson             Palmer                           Sibling        $    4,250,000.00
Frank                       Palombo                   Fortunata                              Palombo                          Parent         $    8,500,000.00
Paul          J.            Pansini                   Robert             Joseph              Pansini                Sr.       Sibling        $    4,250,000.00
Steven        Bennett       Paterson                  Joseph             James               Paterson                         Sibling        $    4,250,000.00
Mark          James         Petrocelli                Albert             Peter               Petrocelli             Jr.       Sibling        $    4,250,000.00
Mark          James         Petrocelli                Albert             Peter               Petrocelli             Sr.       Parent         $    8,500,000.00
Mark          James         Petrocelli                Virginia           Ann                 Petrocelli                       Parent         $    8,500,000.00
Philip        S.            Petti                     Jacqueline         Lee                 Butt                             Sibling        $    4,250,000.00
Philip        S.            Petti                     Catherine                              Petti                            Parent         $    8,500,000.00
Philip        S.            Petti                     Thomas             Daniel              Petti                            Sibling        $    4,250,000.00
Bernard                     Pietronico                Michael                                Pietronico                       Sibling        $    4,250,000.00
Bernard                     Pietronico                Patricia           Marie               Pietronico                       Parent         $    8,500,000.00
Thomas        H.            Polhemus                  Dorothy            Gail                McGrath                          Sibling        $    4,250,000.00
Thomas        H.            Polhemus                  Harold             Lowe                Polhemus                         Parent         $    8,500,000.00
Thomas        H.            Polhemus                  Jane               Lynn                Skrzyniarz                       Sibling        $    4,250,000.00
Gregory       M.            Preziose                  Christopher        Paul                Preziose                         Sibling        $    4,250,000.00
Gregory       M.            Preziose                  Dolores            Alba                Preziose                         Parent         $    8,500,000.00
Gregory       M.            Preziose                  James              Alexander           Preziose                         Sibling        $    4,250,000.00
Gregory       M.            Preziose                  John               Michael             Preziose                         Sibling        $    4,250,000.00
Patricia      Ann           Puma                      Eleanor                                Wilson                           Parent         $    8,500,000.00
Edward        R.            Pykon                     David              Alan                Pykon                            Sibling        $    4,250,000.00
Christopher                 Quackenbush               Gail               Elizabeth           Quackenbush                      Sibling        $    4,250,000.00
Christopher                 Quackenbush               Michael            Allen               Quackenbush                      Sibling        $    4,250,000.00
Ricardo       J.            Quinn                     Annamaria                              Morales                          Parent         $    8,500,000.00
Leonard       J.            Ragaglia                  Christine          Teresa              Durante                          Sibling        $    4,250,000.00
Leonard       J.            Ragaglia                  Stephen            Anthony             Ragaglia                         Sibling        $    4,250,000.00
Leonard       J.            Ragaglia                  Debra              Ann                 Ragaglia                         Sibling        $    4,250,000.00
Leonard       J.            Ragaglia                  Leonard            Salvatore           Ragaglia                         Parent         $    8,500,000.00
Leonard       J.            Ragaglia                  Maureen            Frances             Ragaglia                         Parent         $    8,500,000.00
Leonard       J.            Ragaglia                  Paul               Joseph              Ragaglia                         Sibling        $    4,250,000.00
Leonard       J.            Ragaglia                  Maureen            Elizabeth           Scparta                          Sibling        $    4,250,000.00
Leonard       J.            Ragaglia                  Linda              Marie               Taccetta                         Sibling        $    4,250,000.00
Valsa                       Raju                      Ammini             George              Abraham                          Sibling        $    4,250,000.00
Valsa                       Raju                      Saramma                                John                             Sibling        $    4,250,000.00
Valsa                       Raju                      Sosamma                                Mukkadan                         Sibling        $    4,250,000.00
Valsa                       Raju                      Annamma                                Thomas                           Sibling        $    4,250,000.00
Edward        J.            Rall                      Edward             A.                  Rall                             Parent         $    8,500,000.00
Edward        J.            Rall                      Joan               P.                  Rall                             Parent         $    8,500,000.00
Edward        J.            Rall                      Keith              G.                  Rall                             Sibling        $    4,250,000.00
Edward        J.            Rall                      William            Francis             Rall                             Sibling        $    4,250,000.00
Alfred        Todd          Rancke                    Barbara            Rancke              Speni                            Sibling        $    4,250,000.00
Kevin         Owen          Reilly                    Regina             T.                  Madigan                          Sibling        $    4,250,000.00



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                                                                                                                                                                       DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST        PLAINTIFF MIDDLE                                    RELATIONSHIP
                                               SUFFIX                                               PLAINTIFF LAST NAME    SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                    NAME                                           TO DECEDENT
                                                                                                                                                                       SUFFERING

Kevin         Owen          Reilly                      Joan               E.                      Reilly                           Parent         $    8,500,000.00
Joseph                      Reina            Jr.        Joann                                      O' Keefe                         Sibling        $    4,250,000.00
Joseph                      Reina            Jr.        Joseph                                     Reina                  Sr.       Parent         $    8,500,000.00
Joseph                      Reina            Jr.        Rosemarie                                  Reina                            Parent         $    8,500,000.00
John          Thomas        Resta                       Dawn               Marie                   Angrisani                        Sibling        $    4,250,000.00
John          Thomas        Resta                       Christine          Ann                     Mazzeo                           Sibling        $    4,250,000.00
John          Thomas        Resta                       Bernard            Thomas                  Resta                            Parent         $    8,500,000.00
John          Thomas        Resta                       Michael                                    Resta                            Sibling        $    4,250,000.00
John          Thomas        Resta                       Thomas             Bernard                 Resta                            Sibling        $    4,250,000.00
John          Matthews      Rigo                        Theodore           Paul                    Rigo                             Sibling        $    4,250,000.00
Isaias                      Rivera                      Moises                                     Rivera                           Sibling        $    4,250,000.00
Joseph                      Roberto                     Lorraine                                   Caiazzo                          Sibling        $    4,250,000.00
Joseph                      Roberto                     Lucy                                       Roberto                          Parent         $    8,500,000.00
Joseph                      Roberto                     Robert                                     Roberto                Sr.       Parent         $    8,500,000.00
Donald        W.            Robertson        Jr.        Donald             W.                      Robertson              Sr.       Parent         $    8,500,000.00
Donald        W.            Robertson        Jr.        Elizabeth          Ann                     Robertson                        Sibling        $    4,250,000.00
Donald        W.            Robertson        Jr.        Marcee             E.                      Robertson                        Parent         $    8,500,000.00
Gregory       E.            Rodriguez                   Julia              Emilia                  Rodriguez                        Sibling        $    4,250,000.00
Sheryl                      Rosenbaum                   Barry                                      Rosner                           Parent         $    8,500,000.00
Sheryl                      Rosenbaum                   Bobbi              Sara                    Rosner                           Parent         $    8,500,000.00
Thomas        E.            Sabella                     Charles            Thomas                  Sabella                          Sibling        $    4,250,000.00
Thomas        E.            Sabella                     Loretta            S.                      Sabella-Viglione                 Sibling        $    4,250,000.00
Francis       John          Sadocha                     John               Stephen                 Sadocha                          Sibling        $    4,250,000.00
Francis       John          Sadocha                     Norma              Teresa                  Sadocha                          Parent         $    8,500,000.00
Mario         L.            Santoro                     Alberto            Angel                   Santoro                          Parent         $    8,500,000.00
John                        Schardt                     Debra              Marie                   Sacco                            Sibling        $    4,250,000.00
Janice        Marie         Scott                       Darlene            Bonita                  Caldwell                         Sibling        $    4,250,000.00
Janice        Marie         Scott                       Denise             M.                      Holmes                           Sibling        $    4,250,000.00
Janice        Marie         Scott                       Geraldine                                  Holmes                           Parent         $    8,500,000.00
Janice        Marie         Scott                       Delores            Diane                   James                            Sibling        $    4,250,000.00
Janice        Marie         Scott                       Claudette          McKahn                  Staley                           Sibling        $    4,250,000.00
Janice        Marie         Scott                       Willette                                   Wages                            Sibling        $    4,250,000.00
Michael       Herman        Seaman                      Daniel             Paul                    Seaman                           Sibling        $    4,250,000.00
Robert        J.            Shay             Jr.        James              Edward                  Shay                             Sibling        $    4,250,000.00
Robert        J.            Shay             Jr.        Leanne             Mary                    Shay                             Sibling        $    4,250,000.00
Robert        J.            Shay             Jr.        Maureen                                    Shay                             Parent         $    8,500,000.00
Robert        J.            Shay             Jr.        Michael            Andrew                  Shay                             Sibling        $    4,250,000.00
Robert        J.            Shay             Jr.        Robert             John                    Shay                   Sr.       Parent         $    8,500,000.00
John          Anthony       Sherry                      Debra                                      Sherry                           Sibling        $    4,250,000.00
Allan         Abraham       Shwartzstein                Ahuva                                      Shwartzstein                     Parent         $    8,500,000.00
Allan         Abraham       Shwartzstein                Orly                                       Small                            Sibling        $    4,250,000.00
Michael       John          Simon                       Scott              S.                      Simon                            Sibling        $    4,250,000.00
Jeffrey       R.            Smith                       Brenda             Smith                   Clark                            Sibling        $    4,250,000.00
Jeffrey       R.            Smith                       Arthur             Abraham                 Smith                            Parent         $    8,500,000.00



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                                                                                                                                                                           DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST                   PLAINTIFF FIRST        PLAINTIFF MIDDLE                                    RELATIONSHIP
                                                   SUFFIX                                               PLAINTIFF LAST NAME    SUFFIX                      SOLATIUM        PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                            NAME                    NAME                                           TO DECEDENT
                                                                                                                                                                           SUFFERING

Jeffrey       R.            Smith                           Madeline           Whyman                  Smith                            Parent         $    8,500,000.00
Karl          T.            Smith                           Georgia            Ruth                    Smith                            Parent         $    8,500,000.00
Karl          T.            Smith                           Peter              Hibbard                 Smith                            Sibling        $    4,250,000.00
Thomas                      Sparacio                        Deborah            Ann                     Klemowitz                        Sibling        $    4,250,000.00
Thomas                      Sparacio                        Edith              A.                      Sparacio                         Parent         $    8,500,000.00
Thomas                      Sparacio                        Jack               Joseph                  Sparacio               Sr.       Parent         $    8,500,000.00
Lisa          L.            Spina-Trerotola                 Irene                                      Spina                            Parent         $    8,500,000.00
Lisa          L.            Spina-Trerotola                 Mario              Francis                 Spina                            Parent         $    8,500,000.00
Lisa          L.            Spina-Trerotola                 Paul               Mario                   Spina                            Sibling        $    4,250,000.00
Eric                        Stahlman                        Renee                                      Stahlman                         Parent         $    8,500,000.00
Eric                        Stahlman                        Samuel                                     Stahlman                         Parent         $    8,500,000.00
Mary          Domenica      Stanley                         Lucia              Agness                  Balzan                           Sibling        $    4,250,000.00
Derek         James         Statkevicus                     Joel                                       Statkevicus                      Sibling        $    4,250,000.00
Derek         James         Statkevicus                     Joseph             R.                      Statkevicus                      Parent         $    8,500,000.00
Derek         James         Statkevicus                     Nancy                                      Statkevicus                      Parent         $    8,500,000.00
James         J.            Straine           Jr.           Daniel             Matthew                 Straine                          Sibling        $    4,250,000.00
James         J.            Straine           Jr.           James              Joseph                  Straine                          Parent         $    8,500,000.00
James         J.            Straine           Jr.           Kevin              Joseph                  Straine                          Sibling        $    4,250,000.00
James         J.            Straine           Jr.           Mary               Emma                    Straine                          Parent         $    8,500,000.00
James         J.            Straine           Jr.           Michael                                    Straine                          Sibling        $    4,250,000.00
Daniel                      Suhr                            Christopher        Gerald                  Suhr                             Sibling        $    4,250,000.00
Thomas        G.            Sullivan                        Arlene             R                       Sullivan                         Parent         $    8,500,000.00
Robert                      Sutcliffe                       Patricia                                   Sutcliffe                        Parent         $    8,500,000.00
Hector        R.            Tamayo                          Luther             Rogan                   Tamayo                           Sibling        $    4,250,000.00
Ronald        G.            Tartaro                         Rosanna            P.                      Tartaro                          Sibling        $    4,250,000.00
Ronald        G.            Tartaro                         Teresa                                     Tartaro                          Parent         $    8,500,000.00
Anthony                     Tempesta                        Clifford           Daniel                  Tempesta                         Parent         $    8,500,000.00
Anthony                     Tempesta                        Dorothy            Maria                   Tempesta                         Parent         $    8,500,000.00
Anthony                     Tempesta                        Michael                                    Tempesta                         Sibling        $    4,250,000.00
Glenn                       Thompson                        Scott              Morton                  Thompson                         Sibling        $    4,250,000.00
Eric          R.            Thorpe                          Susan              Thorpe                  Burghouwt                        Sibling        $    4,250,000.00
Eric          R.            Thorpe                          Marilyn            Williams                Thorpe                           Parent         $    8,500,000.00
Eric          R.            Thorpe                          Raymond            R.                      Thorpe                           Parent         $    8,500,000.00
William       R.            Tieste                          Linda              G                       Tieste                           Sibling        $    4,250,000.00
Stephen       Edward        Tighe                           Roberta            L.                      Shea                             Sibling        $    4,250,000.00
Jonathan                    Uman                            Susan              Ruth                    Blomberg                         Parent         $    8,500,000.00
Kenneth       Warren        Van Auken                       Janice             Lynne                   Booth                            Sibling        $    4,250,000.00
Kenneth       Warren        Van Auken                       Karen              Ellen                   Renzo                            Sibling        $    4,250,000.00
Lawrence      J.            Veling                          Marcella           Jean                    Tuohy                            Sibling        $    4,250,000.00
John          Thomas        Vigiano           II            Jeanette                                   Vigiano                          Parent         $    8,500,000.00
John          Thomas        Vigiano           II            John               T.                      Vigiano                          Parent         $    8,500,000.00
Joseph        Vincent       Vigiano                         Jeanette                                   Vigiano                          Parent         $    8,500,000.00
Joseph        Vincent       Vigiano                         John               T.                      Vigiano                          Parent         $    8,500,000.00
Frank         J.            Vignola           Jr.           Diane              Frances                 Antolos                          Sibling        $    4,250,000.00



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                                                                                                                                                                       DECEDENT
  DECEDENT     DECEDENT      DECEDENT LAST               PLAINTIFF FIRST    PLAINTIFF MIDDLE                                     RELATIONSHIP
                                               SUFFIX                                           PLAINTIFF LAST NAME     SUFFIX                        SOLATIUM         PAIN AND
 FIRST NAME   MIDDLE NAME        NAME                        NAME                NAME                                            TO DECEDENT
                                                                                                                                                                       SUFFERING

Frank         J.            Vignola          Jr.        Frances                                Vignola                           Parent           $     8,500,000.00
Frank         J.            Vignola          Jr.        James              Anthony             Vignola                           Sibling          $     4,250,000.00
Joseph        B.            Vilardo                     Diane                                  Braitsch                          Sibling          $     4,250,000.00
Joseph        B.            Vilardo                     Margaret                               McLean                            Sibling          $     4,250,000.00
Joseph        B.            Vilardo                     Janet                                  Vilardo                           Sibling          $     4,250,000.00
Jeffrey       P.            Walz                        Jennie             Vicenza             Walz                              Parent           $     8,500,000.00
Jeffrey       P.            Walz                        Raymond            George              Walz                              Parent           $     8,500,000.00
Steven                      Weinberg                    Marilyn            Hope                Weinberg                          Parent           $     8,500,000.00
Steven                      Weinberg                    Paul               Howard              Weinberg                          Sibling          $     4,250,000.00
Timothy                     Welty                       Adele              Nina                Welty                             Parent           $     8,500,000.00
Peter         Matthew       West                        Mary               Louise              Ball                              Sibling          $     4,250,000.00
Peter         Matthew       West                        Catherine          Cecilia             McLaughlin                        Sibling          $     4,250,000.00
Peter         Matthew       West                        Regina             Marie               Townsend                          Sibling          $     4,250,000.00
Peter         Matthew       West                        Gregory            J.                  West                              Sibling          $     4,250,000.00
Peter         Matthew       West                        Vincent            Matthew             West                              Sibling          $     4,250,000.00
Kenneth       W.            White                       Laura              Jeanne              Kenny                             Sibling          $     4,250,000.00
Kenneth       W.            White                       Thomas             George              White                             Sibling          $     4,250,000.00
Mark          P.            Whitford                    Carol              Ann                 Whitford                          Parent           $     8,500,000.00
Mark          P.            Whitford                    Christopher                            Whitford                          Sibling          $     4,250,000.00
Mark          P.            Whitford                    Roger              Paul                Whitford                          Parent           $     8,500,000.00
Leslie        Ann           Whittington                 Sara                                   Guest                             Sibling          $     4,250,000.00
Leslie        Ann           Whittington                 Kirk                                   Whittington                       Sibling          $     4,250,000.00
Leslie        Ann           Whittington                 Michael            Thomas              Whittington                       Sibling          $     4,250,000.00
Michael       T.            Wholey                      Bernadette                             Wholey                            Sibling          $     4,250,000.00
Michael       T.            Wholey                      Margaret           Winifred            Wholey                            Parent           $     8,500,000.00
Michael       T.            Wholey                      Maryann                                Wholey                            Sibling          $     4,250,000.00
Michael       T.            Wholey                      Michael            Joseph              Wholey                            Parent           $     8,500,000.00
Jeffrey       David         Wiener                      Robin              Kim                 Wiener                            Sibling          $     4,250,000.00
Brent         James         Woodall                     Erin               Elizabeth           Konstantinow                      Sibling          $     4,250,000.00
Brent         James         Woodall                     Craig              Walker              Woodall                           Sibling          $     4,250,000.00
Brent         James         Woodall                     Mary               Elizabeth           Woodall                           Parent           $     8,500,000.00
David         T.            Wooley                      Edgar              Bertram             Wooley                 III        Sibling          $     4,250,000.00
John          Bentley       Works                       Timothy            Edwin               Works                             Sibling          $     4,250,000.00
Andrew        Steven        Zucker                      Gayle                                  Mosenson                          Sibling          $     4,250,000.00
Andrew        Steven        Zucker                      Cheryl             Dianne              Shames                            Sibling          $     4,250,000.00
Andrew        Steven        Zucker                      Stuart             Craig               Zucker                            Sibling          $     4,250,000.00
Asia          SiVon         Cottom                      Asia               SiVon               Cottom                            Estate           $              -   $ 2,000,000.00
Asia          SiVon         Cottom                      Michelle                               Cottom                            Parent           $     8,500,000.00
Asia          SiVon         Cottom                      Clifton                                Cottom                            Parent           $     8,500,000.00
Rodney        Alonzo        Dickens                     LaShawn                                Dickens                           Parent           $     8,500,000.00
Rodney        Alonzo        Dickens                     Rodney             Alonzo              Dickens                           Estate           $              -   $ 2,000,000.00
                                                                                                                                           TOTAL: $ 3,276,500,000.00 $ 6,000,000.00




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